      8:19-cr-00181-DCC           Date Filed 08/23/19       Entry Number 409         Page 1 of 11




                       Dヾ   THE DISTRICT COURT OF THE UNITED STATES
                             FOR THE DISTRICT OF SOUTH CAROLNA
                                      GREENW00D DIVISION

 tJNITED STATES OF AMERICA                               Criminal No:8:19‐    00181‑DCC

                            V
                                                                      PLEA AGREEMENT
 DONttD NA羽 出姐ヾIEL THOMAS,JR,a/k/a
     TP'

                                          (ieneral Provisions


           噺   s m AGttEMENTヽ 面 c面 週                    冽 dり        J物       こ     2m%ゝ mcen雌
United States of America, as represented by United States Attomey SHERRI A. LYDON,

Assistant United States Attomey Leesa Washington; the Defendant, DONALD NATHANIEL

THOMAS, JR., a/k/a "TJ", and Defendant's attomey, C. Rauch Wise, Esquire.

IN CONSIDERATION of the mutual promises made herein, the parties agree as follows:

l.         The Defendant agrees to plead guilty to Counts    I   and 8 of the Superseding Indictment,

           Count I charges that beginning at least in or around 2016, and continuing thereafter until

           on or about the date of the Superseding Indictment, in the District of South Carolina and

           elsewhere, the Defendant and others, knowingly and intentionally did conspire, to possess

           with intent to distribute and to distribute a kilogram or more of a mixhre or   substance

           containing a detectable amount of heroin, a Schedule I controlled substance, 5 kilograms

           or more of a mixture or substance containing a detectable amount of cocaine, and 400

           grams or more of a mixture or subslance containing a detectable amount of N-phenyl-N-

           [1-(2-phenylethyl)4-piperidinyl] propanamide (commonly known as fentanyl), both




Page l of ll                                                                         Form Date:3/1/19
    8:19-cr-00181-DCC                Date Filed 08/23/19     Entry Number 409              Page 2 of 11




         Schedule    II controlled   substances. both Schedule   II controlled   substances, in violation   of

         Title 21, United States Code, Sections 8al (aXl ), 841(bXI XA) and 846.

2        Count 8 ofthe Superseding Indictment charges that on or about October 23, 2018, in the

         Disrrict of South Carolina, the Defendanl as a principal, aider and abettor and co-

         participants in jointly undertaken criminal activity, did knowingly and willfully make

         materially false, fictitious and fraudulent statements and representations in a matter within

         the jurisdiction   of the Drug Enforcement Administration, an agency within the executive

         branch of the Govemment of the United States, knowing the same to be false in that the

         Defendants, DoNALD NATHANIEL THOMAS, lR., alWa, "TJ", and SHEQUITA

         LATOYA HOLLOWAY, made false statements to federal law enforcement                           agents


         concerning the ownership, source and purpose of $245,880.00 in United States currency,

         found in the possession of DONALD NATHANIEL THOMAS, JR., a/lc/a "TJ", on

         October 23, 201 8, in violation   of Title 18, United States   Code, Sections l00l (aX2) and 2.

         In order to sustain its burden of proof, the Govemment is required to prove the following:

                                                     Count   I
         A.        The conspiracy described in the indictrnent was      willfully formed   and was existing
                   at or about the alleged timel

         B.        the defendant knowingly and voluntarily became a part         ofthe conspiracy; and

         C.        the defendant distributed a quantity of a controlled substance(s) equal to or in
                   excess of the amount charged in Count l, agreed to assist in the distribution ofa
                   quantity of controlled substance(s) equal to or in excess ofthe amount charged in
                   Count l, or the distribution of the threshold quantity of controlled substance(s)
                   equal to or in excess of the amount charged in Count I was reasonably foreseeable
                   to the defendant and same was within the scope ofthe defendant's agreement and
                   understanding.

         Possible Penatties: a minimum term of imprisonment of l0 years and a maximum term                  of
         imprisonment of life, no probation, no parole, a fine of $10,000'000 and a term of



Page 2   of   11                                                                           Form Date:3/1ノ 19
   8:19-cr-00181-DCC              Date Filed 08/23/19        Entry Number 409         Page 3 of 11




         supervised release ofat least five (5) years in addition to any term of imprisonment, plus a
         special assessment of $ 100.

                                                     Count 8
          Ａ




                   The defendant made a false, fictitious, or fraudulent statement or representation;
          Ｂ




                   the false, fictitious, or fraudulent statement or representation was material to a
                   matter within thejurisdiction of the executive. legislative, orjudicial branch of the
                   Government of the United States;

         C.        the defendant acted knowingly and willfully, that is, the defendant knew the
                   statement or representation was false, fictitious, or fraudulent.

                        ESSENTIAL ELEMENTS OF T8 U.S.C. SECTION 2
                                    (Aiding and Abetting)

         A.        The defendant participated in the criminal venture as in something that he wished
                   to bring about:

         B.        the defendant sought by his or her actions to make the endeavor succeed.

         Possible Penrlties: a maximum term of life imprisonment term of 5 yeats and/or a fine
         ofnot more than $250,000, and a term of supervised release ofnot more than three (3)
         years, plus a special assessment of $100.

         The Defendant understands and agrees that monetary penalties [i.e., special assessments,

         restitution, fines and other payments required under the sentence] imposed by the Court

         are due and payable immediately and subject to enforcement by the United States as        civil

         judgments, prrsuant to    l8 USC $ 3613. In the event the Court       imposes a schedule for

         payment ofrestitution, the Defendant also understands that payments made in accordance

         with installment schedules set by the Court are minimum payments only and do not

         preclude the government from seeking to enforce the judgment against other assets ofthe

         Defendant at any time.   as   provided in 18 USC $$ 3612,3613 and 3664(m). The Defendant

         further agrees to enter into the Bureau of Prisons Inmate Financial Repayment Program          if



Page 3   of   11                                                                      Form Date: 3/1/19
     8:19-cr-00181-DCC           Date Filed 08/23/19         Entry Number 409             Page 4 of 11




         sentenced to a term of incarceration with an unsatisfied monetary penalty. The Defendant

         further understands that any monetary penalt_v imposed is not dischargeable in bankruptcy.

                         Special Assessment: Pursuant to l8 U.S.C. $3013, the Defendant must pay
                         a special assessment of $100.00 for each felony count for which he is
                         convicted. This special assessment must be paid at or before the time ofthe
                         guilty plea hearing or during participation in the Bureau of Prisons Inmate
                         Financial Repayment Program if this plea results in incarceration.

                   B.    Restitution: The Defendant agrees to make full restitution under l8 U.S.C.
                         $ 3556 in an amount to be determined by the Court at the time ofsentencing,
                         which amount is not limited to the count(s) to which the Defendant pled
                         guilty, but will include restitution to each and every identifiable victim who
                         may have been harmed by his scheme or pattem of criminal activity,
                         pursuant to l8 u.s.c. $ 3663. The Defendant agrees to cooperate fully with
                         the Govenunent in identiSing all victims. Upon demand, the Defendant
                         shall submit a personal financial statement under oath and submit to
                         interviews by the govemment and the U.S. Probation Office regarding the
                         Defendant's capacity to satisfu any fines or restitution. The Defendant
                         expressly authorizes the U.S. Attomey's Office to immediately obtain a
                         credit report on the Defendant in order to evaluate the Defendant's ability to
                         satis$ any financial obligation imposed by the Court. The Defendant
                         understands that the Defendant has a continuing obligation to pay in full as
                         soon as possible any financial obligation imposed by the Court.

                   C.    Fines: The Defendant understands that the Court may impose a fine
                         pursuant to   l8 U.S.C.   $g 3571 and 3572.

4        Provided the Defendant complies with all the terms of this Agreement. the United States

         agrees    to move to dismiss the remaining counts of the Indictmenr [and any                 other

         indictments under this number] at sentencing. The Defendant understands that the Court

         may consider these dismissed counts as relevant conduct plusuant to    $I   Bl   .3   ofthe United

         States Sentencing Guidelines.

).       The Defendant understands that the obligations of the Govemment within the Plea

         Agreement arc expressly contingent upon the Defendant's abiding by federal and state laws

         and complying with any bond executed in this case. In the event that the Defendant fails

         to comply with any of the provisions of this Agreement, either express or implied, the


Page 4   of   11                                                                          Form Date; 3/1/19
     8:19-cr-00181-DCC          Date Filed 08/23/19          Entry Number 409           Page 5 of 11




        Govemment    will   have the right, at its sole election, to void all of its obligations under this

        Agreement and the Defendant       will not have any right to withdraw his/her    plea   ofguilty to

        the offense(s) enumerated herein.

                                     Coooention and Forfeiture
´０




       The Defendant agrees to be fully truthful and forthright with federal, state and local law

       enforcement agencies by providing          full, complete and truthful information about all

       criminal activities about which he has knowledge. The Defendant must provide full,

       complete and truthful debriefrngs about these unlawful activities and must fully disclose

       and provide truthful information to the Government including any books, papers, or

       documents or any other items of evidentiary value to the investigation. The Defendant

       must also testift fully and truthfully before any grand juries and at any trials or other

       proceedings ifcalled upon to do so by the Govemment, subject to prosecution for pe{ury

       for not testiSing truthfully. The failure of the Defendant to be fully truthful and forthright

       at any stage will, at the sole election of the Govemment, cause the obligations of the

       Govemment within this Agreement to become null and void. Further, it is expressly agreed

       that if the obligations of the Govemment within this Agreement become null and void due

       to the lack of truthfulness on the part ofthe Defendant, the Defendant understands that:

               A.     the Defendant will not be permitted to withdraw his/her plea of guilty to the
                      offenses described above;

               B.     all additional charges known to the Govemment may be filed in                    the
                      appropriate district:

               C.     the Governrnent will argue for a maximum sentence for the offense to which
                      the Defendant has pleaded guilty; and

               D.     the Govemment will use any and all information and testimony provided by
                      the Defendant pursuant to this Agreement, or any prior proffer agreements,
                      in the prosecution ofthe Defendant ofall charges.


Page 5 of 11                                                                            Form Date: 3/L/19
     8:19-cr-00181-DCC             Date Filed 08/23/19        Entry Number 409          Page 6 of 11




7.       The Defendant agrees to submit to such polygraph examinations as may be requested by

         the Governrnent and agrees that any such examinations shall be performed by a polygraph

         examiner selected by the Govemment. Defendant fudher agrees that his/her refusal to take

         or his/her failure to pass any such polygraph examination to the Government's satisfaction

         will result,   at the Govemment's sole discretion, in the obligations of the Govemment    within

         the Agreement becoming null and void.

8        The Govemment agrees that any self-incriminating information provided by the Defendant

         as a result    ofthe cooperation required by the terms of this Agreement, although available

         to the CouG will not be used against the Defendant in determining the Defendant's

         applicable guideline range for sentencing pusuant to the U.S. Sentencing Commission

         Guidelines. The provisions of this paragraph shall not be applied to restrict any such

         information:

                 A.        known to the Govemmenl prior to the date of this Agreement;

                 B.        conceming the existence   ofprior convictions   and sentences;

                 C.        in a prosecution for perjury or giving a false statement;

                 D.        in the event the Defendant breaches any ofthe terms ofthe Plea Agreement;
                           or

                 E.        used to rebut any evidence or arguments offered by or on behalf of the
                           Defendant (including arguments made or issues raised sua sponte by the
                           District Court) at any state ofthe criminal prosecution (including bail, trial,
                           and sentencing).

9.       Provided the Defendant cooperates pursuant to the provisions ofthis Plea Agreement, and

         that cooperation is deemed by the Govemment as providing substantial assistance in the

         investigation or prosecution ofanother person, the Govemment agrees to move the Court

         for a downward departure or reduction of sentence pursuant to United States Sentencing


Page 6   of 11                                                                           Forrn Oate:3/1/19
     8:19-cr-00181-DCC             Date Filed 08/23/19        Entry Number 409          Page 7 of 11




         Guidelines§ 5Kl l,Title 1 8,Unitcd States Codc,§ 3553(e)2r Federal Rule of CHminal

         Proccdurc 35(b) 愚 y Such motion by the Govcnltncntis not binding upon the Court,and

         should he Court deny the motion,the Dcfendant w嗜 ‖have no right to withdraw his/hcr

         plca

10   The Defendant agrccs to voluntanly surrender to,and not to contest the forfeiture of my

         and all asscts and prope中 ,or pOrtions thereol wЫ Ch are subJcct to forfciture pursuant to


         any provision oflaw,including but not limited to,propett in the possession or control of

         the DeFendant or Defendant's nominees Speciflcally,the Defendallt agrees tO v01untarily

         surrender, and not contest the forfciture of proPcJy identifled in the Superseding

         lndictncnt,and any forfeittre Bill ofParticulars With rcgard to cach and every asSCtlistcd

         in the Superseding indictment or seizcd in a rclatcd investigation or admirustrative,state,


         or iocal action,the Defendant stipulates and agrees:

              The Defendant agrccs and conscnts to thc forfeiture of thcse assets pursuant to any
              federal cHminal,civiljudicial or administrat市 e forfeittlre action The Defendant also
              hereり agrccs to w」 vc ali constitu● onal,statutov and proccdurtt chJlengcs in any
              manner(including direct appeal,habeas corpus,or any other means)to any forfeiture
              carned outin accordance wlth tЫ s Plea Agrccmcnt on any grounds,including that the
              forFeiture descHbed herein constitutes an excessive fme,was not properly noticed in
              伍e   chtting hsmme■ ,addrcsscd byぬ e Court tt he inle of hc g● 1,メ ea,
              almounccd at scntcncing,or incorporated into thejudgment

              To its forfeitllre herein,ifnecesm,as substitutc propcty under 21 U S C§ 853o),as
              made applた able by 18 U S C§ 982(D(1)Or any other statute,or in a scParatc
              adnlJnistrative or civ‖ judicial proceeding


              That the Defendant has or had a possessow intcrest or other legal intercst in each item
              or propc"

              To assist the Udted States in the recovery of all assets by(1)taは   ng Whatever steps are
              necessaγ or rcquestcd by thc United States to pass clear titlc to the United States:(il)
              pretnting the disbursement ofany moncys and sale ofany prOpe中 or aSSCtsi(lii)nOt
              encumbering or transferring any rcal cstatc ancr thc Defcndant's signing of this Plea
              Agreement;and(iv)dircCting all fmancial institutions to tum over and surrender to the
              United States all極 ds and records rcgarding accounts listed in any doculnent signcd


Page 7   of   11                                                                        Form Date:3/1/19
   8:19-cr-00181-DCC                Date Filed 08/23/19        Entry Number 409          Page 8 of 11




                by the Defendant pursuant to this plea agreement, as criminal proceeds or substitute
                property.

                The Defendant waives all rights to notice of forfeitwe under Rule 32.2 and ofany other
                action or proceeding regarding such assets. The Defendant consents and waives all
                rights to compliance by the United States with any applicable deadlines under l8
                U.S.C. $ 983(a). Any related administrative claim filed by the Defendant is hereby
                withdrawn.

                 Pursuant to Rule 32.2(b)(4), the Defendant agrees that the preliminary order of
                 forfeiture will satisfo the notice requirement and will be final as 1o the Defendant at the
                 time it is entered. In the event the forfeiture is omitted from the judgment, the
                 Defendant agrees that the forfeiture order may be incorporated into the written
                judgment at any time pursuant to Rute 36.

                Ifthe United                                             fully disclosed all assets, the
                               States discovers that the Defendant has not
                United States may   seek  forfeiture of any subsequently-discovered    assets, and the
                Defendant agrees to the immediate forfeiture of any such assets.

                The Defendant further agrees to make a full and complete disclosure ofall assets over
                which Defendant exercises control and those which are held or controlled by nominees.
                The Defendant agrees that Federal Rule of Criminal Procedure I I and U.S.S.G. $ 1B 1.8
                will not protect fiom forfeiture, assets disclosed by the Defendant as part of his/her
                cooperation. The Defendant further agrees to submit to a polygraph examination on
                the issue ofassets if it is deemed necessary by the United States.

                The Defendant agrees to waive any double jeopardy claims the Defendant may have as
                a result ofa forfeiture proceeding against any ofthese properties as provided for by this
                Plea Agreement and agrees to waive any claims that the forfeiture described herein
                constitutes an excessive fine.

                Forfeiture of the Defendant's assets shall not be treated as satisfaction of any fine,
                restitution, cost of imprisonment, or any other penalty the Court may impose upon the
                Defendant in addition to forfeiture. The United States may use the value of forfeited
                property for restitution, but is not required to do so.


           The Defendant also agrees to voluntarily transfer all right, title, interest and claim in the

           above-described property and/or assets to the United States of America. Furthermore, the

           Defendant anests, under penalty of perjury, that the Defendant owns the above-described

           property andlor assets free of any liens and encumbrances, and that no other person or

           entity has a claim to the above-described property and/or assets.


Page   I   of   11                                                                        Form Date: 3/1/19
      8:19-cr-00181-DCC           Date Filed 08/23/19       Entry Number 409           Page 9 of 11




                                       Merqcr and Other Provisions

ll.      The Defendant represents to the court that he/she has met with his attomey on a sufficient

         number ofoccasions and for a sufftcient period of time to discuss the Defendant's case and

         receive advice; that the Defendant has been truthful with hisfrer attorney and related all

         information of which the Defendant is aware perlaining to the case; lhat the Defendant and

         his attorney have discussed possible defenses,     if   any, to the charges in the Indictment

         including the existence of any exculpatory or favorable evidence or witnesses, discussed

         the Defendant's right to a public trial by jury or by the Court, the right to the assistance   of

         counsel throughout the proceedings, the right to call witnesses in the Defendant's behalf

         and compel their aftendance at trial by subpoena" the right to confront and cross-examine

         the Government's witnesses, the Defendant's right to     testi$ in his own behalf, or to remain

         silent and have no adverse inferences drawn from his/her silence; and that the Defendant,

         with the advice of counsel, has weighed the relative benefits of a trial by jury or by the

         Court versus a plea of guilty pursurnt to this Agreement, and has entered this Agreement

         as a matter   ofthe Defendant's free and voluntary choice, and not   as a result   of pressure or

         intimidation by any person.

12.      The Defendant is aware that l8 U.S.C. $ 3742 and28 U.S.C. $ 2255 afford every defendant

         certain rights to contest a conviction and/or sentence. Acknowledging those rights, the

         Defendant,    in   exchange   for the concessions made by the Government in this            Plea

         Agreement, waives the right to contest either the conviction or the sentence in any direct

         appeal or other post-conviction action, including any proceedings under 28 U.S.C. $ 2255.

         This waiver does not apply to claims of ineffective assistance of counsel, prosecutorial

         misconduct,    or future changes in the law that alfect the defendant's        sentence. This



Page 9   of   11                                                                       Form Date:3/l/19
     8:19-cr-00181-DCC         Date Filed 08/23/19        Entry Number 409            Page 10 of 11




       agreement does not affect the rights or obligations of the Govemment as set forth          in   18


       U.S.C. $ 3742(b). Nor does it limit the Govemment in its comments in or responses to any

       post-sentencing matters.

13     The Defendant waives all rights, whether asserted directly or by   a   representative, to request

       or receive from any departrnent or agency ofthe United States any records pertaining to

       the investigation or prosecution of this case, including without limitation any records that

       may be sought under the Freedom of Information Act, 5 U.S.C. $ 552, or the Privacy Act

       of 1974,5 U.S.C.   $ 552a.

14     The parties hereby agree that this Plea Agreement contains the entire agreement of the

       parties; that this Agteement supersedes all prior promises, representatiorr and statements

       of the parties; that this Agreement shall not be binding on any party until the Defendant

       tanders a plea of guilty to the court having jurisdiction over this matter; that this Agreement

       may be modified only in writing signed by all parties; and that any and all other promises,

       representations and statements, whether made prior to, contemPoraneous with or after this

       Agreement, are null and void.

         /l qut/ *t,?'/7
       Date

        ノ
        9り ´
           J/ノ ′               フ
                                              C Rauch

                                              SHERRIA LYDON


                                                                     cd ID#06973)




Page 10 of 11                                                                          Form Date:3/1/19
      8:19-cr-00181-DCC         Date Filed 08/23/19     Entry Number 409        Page 11 of 11




                                U.S.DEPARTMENT OF JUSTICE
                            Statement oF Special Assessment Amount

  This statement renects yOur special assessment only.lrhere may be other penaltics inIPosed
  at sentencingo This SDeCial Assessnlentis due and pavablc at the time ofthe exccution of
  the Dlea agreement.




PAYMENT DUE ON OR                                                      (date plea agreement signed)



  MAKE CHECK OR MONEY ORDER PAYABLE TO:
  C"几 ζ yS DISttuCrCa"r
  PAYMENT SHOULD BE SENT TO:
  ClerL UoS・ Distnct Court
  Clement F Havnsworth Fcderal Building and Unitcd Statcs Cou油 ouse
  300 Eastヽ Vashington Strcct
  Grccnville,SC 29601

  0R HAND DELIVERED TO:
  Clerk's Orlce
  Clemcnt F Haynsworth Fedcral Building and Unitcd States Coulthousc
  300 East Washington Strcct
  Green宙 lle,SC 29601(Mon― F五 8:30a m‑4:30p m.)

  卿 Cι UDEDE″ Mあ4ぼSAttИg aV CHECK OR MOノ 昭
                                           yο υ                   ER―
  EⅣじZOSE    71S COし りOⅣ 昴OfNSυ RE PROPER α″′PROMPr′ PPzrc/rI(功 vOF
  P/y"




                                                                                 Form Date:3/1/19
   Page 11 of 11
